
MONROE, O. J.
This case presents the same questions that are presented in the cases of State v. Hagen, 67 South. 935,3 and State v. Whitbeck and Harris, 67 South. 949,4 this day decided, and is governed by the same principles of law. For the reasons assigned in those cases, therefore, the conviction and sentence heroin appealed from is set aside, and the defendant ordered to be discharged.
PROYOSTY, LAND, and O’NIELL. JJ., concur in the decree on the ground that the police jury was without authority to pass the ordinance in question.
O’NIELL, J., is of the opinion that this court is without jurisdiction, for the reasons assigned in his dissenting opinion in State v. Hagen, 67 South. 942, decided this day.
